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                 UNITED STATES DISTRICT COURT
                CENTRAL DISTRICT OF CALIFORNIA




   MARVIN L. STEWART,                  CV 21-3605 DSF (Ex)
       Plaintiff,
                                       JUDGMENT
                   v.

   ALEJANDRO MAYORKAS, et al.,
       Defendants.



      The Court having granted a motion to dismiss,

      IT IS ORDERED AND ADJUDGED that Plaintiff take nothing, that
   the action be dismissed with prejudice, and that Defendants recover
   costs of suit pursuant to a bill of costs filed in accordance with 28
   U.S.C. § 1920.

   Date: November 16, 2021            ___________________________
                                      Dale S. Fischer
                                      United States District Judge
